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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- X
                                                        :
STEPHEN GASPERINI,                                      :
                                                        :
                              Plaintiff,                :   20 Civ. 6022 (KPF) (SLC)
                                                        :
               v.                                       :            ORDER
                                                        :
COMMISSIONER OF SOCIAL SECURITY,                        :
                                                        :
                              Defendant.                :
                                                        :
------------------------------------------------------- X
KATHERINE POLK FAILLA, District Judge:

       By Order dated October 7, 2020 (Dkt. #17), the Court referred this case

to Magistrate Judge Cave for a report and recommendation on any motion for

judgment on the pleadings. To conserve resources, to promote judicial

efficiency, and in an effort to achieve a faster disposition of this matter, it is

hereby ORDERED that the parties must discuss whether they are willing to

consent, under 28 U.S.C. § 636(c), to conducting all further proceedings before

Magistrate Judge Cave.

       If both parties consent to proceed before the Magistrate Judge, counsel

for Defendant must, within two weeks of the date of this Order, either mail

or email to Failla_NYSDChambers@nysd.uscourts.gov a fully executed Notice,

Consent, and Reference of a Civil Action to a Magistrate Judge form, a copy of

which is attached to this Order (and also available at

http://nysd.uscourts.gov/file/forms/consent-to-proceed-before-us-magistrate-

judge). If the Court approves that form, all further proceedings will then be

conducted before Magistrate Judge Cave rather than before the undersigned.
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If either party does not consent to conducting all further proceedings before

Magistrate Judge Cave, the parties must file a joint letter, within two weeks

of the date of this Order advising the Court that the parties do not

consent, but without disclosing the identity of the party or parties who

do not consent. There will be no adverse consequences if the parties do not

consent to proceed before the Magistrate Judge.

      SO ORDERED.

Dated:      October 21, 2020
            New York, New York             __________________________________
                                                KATHERINE POLK FAILLA
                                               United States District Judge




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